UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA,
-against- 05-cr-0517 (LAK)
MANUEL SALAZAR-ESPINOSA,
Defendant.
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LEWIS A. KAPLAN, District Judge.

On or about February 13, 2020, defendant moved for compassionate release. The
government opposed the motion on March 28, 2020. The Court extended defendant’s time to reply in
support of his motion to and including June 15, 2020. When no reply was received, it denied the motion
on June 18, 2020.

On June 19, 2020, the undersigned received an extensive reply from the defendant that
appears to have been mailed from FCI Jessup on or about June 9 to June 11, 2020. It thus is apparent
that defendant, notwithstanding the difficulties resulting from the COVID-19 pandemic and considering
the “mailbox rule,” technically complied with the deadline for filing his reply papers. The reply papers
regrettably were delayed in reaching the undersigned by reason of the pandemic.

In the circumstances, the Court treats defendant’s reply as an application for
reconsideration of the order denying his motion, grants the motion for reconsideration, and has
reconsidered the matter on a clean slate. Having done so, however, it reaches the same result as
previously. Defendant’s motion for compassionate release, also referred to as a motion for reduction of
sentence (Dkt 178] is denied for the same reasons stated in the Court’s original order dated June 18, 2020
(Dkt 184).

The Clerk shall mail copies of this order and of the June 18, 2020 memorandum and
order to the defendant.

SO ORDERED.
Dated: June 24, 2020 / Ll.

Lewis [A. Kap

United States District Judge

 
